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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

DONOVAN HARGRETT, etal.,

Plaintiff,
Vv. CASE NO. 8:15-cv-2456-T-02AAS
AMAZON.com DEDC LLC,

Defendant,

and

MICHAEL AUSTIN and
DEOLINDA S.M. BONDE, et al.,

Plaintiffs,

v. CASE NO. 8:15-ev-2588-T-26JSS
(Consolidated with 8:15-cv-2456-T-02AAS)
AMAZON.com DEDC LLC,

and

Defendant,
/

 

ORDER GRANTING FINAL APPROVAL TO
CLASS ACTION SETTLEMENT AND FINAL JUDGMENT

On July 17, 2018, this Court granted preliminary approval to the proposed class action
settlement set forth in the Stipulation and Settlement Agreement (the “Settlement Agreement”)
between Plaintiffs Donovan Hargrett, Michael Austin, and Michael Mathis (“Plaintiffs” or

“Named Plaintiffs”), on behalf of themselves and all members of the Settlement Classes,’ and

 

' Unless otherwise defined, capitalized terms in this Order have the definitions found in the
Settlement Agreement.
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Defendant Amazon.com DEDC LLC (collectively, the “Parties”), The Court also provisionally
certified the Settlement Classes for settlement purposes, approved the procedure for giving Class
Notice to the members of the Settlement Classes, and set a final approval hearing to take place on
November 16, 2018 at 9:30 am. The Court finds that the notice to the Settlement Classes
substantially in the form approved by the Court in its preliminary approval order was given in the
manner ordered by the Court, constitutes the best practicable notice, and was fair, reasonable, and
adequate.

On November 16, 2018 at 9:30 a.m., the Court held a duly noticed final approval hearing
to consider: ( 1) whether the terms and conditions of the Settlement Agreement are fair, reasonable
and adequate; (2) whether a judgment should be entered dismissing the Named Plaintiffs’
Complaint on the merits and with prejudice in favor of Amazon and against all persons or entities
who are Settlement Class Members herein who have not requested exclusion from the Settlement
Classes; and (3) whether and in what amount to award Counsel for the Settlement Class as
Attorneys’ Fees and Expenses and whether and in what amount to award as a Service Award to
the Named Plaintiff.

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

1. The Court has ‘subject matter jurisdiction to approve the Settlement Agreement,
including all Exhibits thereto, and to enter this Final Order and Judgment. Without in any way
affecting the finality of this Final Order and Judgment, this Court hereby retains jurisdiction as to
all matters relating to administration, consummation, enforcement, and interpretation of the
Settlement Agreement and of this Final Order and Judgment, and for any other necessary purpose.

2. The Settlement Agreement was negotiated at arm’s length by experienced counsel

who were fully informed of the facts and circumstances of this litigation (the “Action”) and of the
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strengths and weaknesses of their respective positions. The Settlement Agreement was reached
after the Parties had engaged in mediation and extensive settlement discussions and after the
exchange of information, including information about the size and scope of the Settlement Class.
Counsel for the Parties were therefore well positioned to evaluate the benefits of the Settlement
Agreement, taking into account the expense, risk, and uncertainty of protracted litigation.

3. The Court finds that the prerequisites for a class action under Fed. R. Civ. P. 23(a)
and Fed. R. Civ. P. 23(b) have been satisfied for settlement purposes only for each Settlement
Class Member in that: (a) the number of Settlement Class Members is so numerous that joinder
of all members thereof is impracticable; (b) there are questions of law and fact common to the
Settlement Classes; (c) the claims of the Named Plaintiffs are typical of the claims of the
Settlement Classes they seek to represent; (d) Named Plaintiffs have and will continue to fairly
and adequately represent the interests of the Settlement Classes for purposes of entering into the
Settlement Agreement; (e) the questions of law and fact common to the Settlement Class Members
predominate over any questions, affecting any individual Settlement Class Member; (f) the
Settlement Classes are ascertainable; and (g) a class action is superior to the other available
methods for the fair and efficient adjudication of the controversy.

4, Pursuant to Fed. R. Civ. P. 23, this Court hereby finally certifies the Settlement
Classes, as identified in the Settkement Agreement, which consists of the Disclosure Form
Settlement Class and the Pre-Adverse Action Notice Subclass.

(a) All Amazon applicants or employees in the United States who (1) applied
online for work at Amazon.com using Salesforce.com; (2) were the subject of a consumer report
that was procured by Amazon.com (or cause to be procured by Amazon) from Accurate

Background, Inc.; (3) to whom Amazon.com presented the disclosure and authorization form filed
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as ECF No. 119-8; (4) within two years of the filing of the Hargrett Matter through July 17, 2018.
(the “Disclosure Form Settlement Class”).

(b) All Disclosure Form Class Members as to whom Amazon or its affiliates
took adverse action based in whole or in part on any consumer report from August 22, 2015
through July 17, 2018 (the “Pre-Adverse Action Notice Subclass”).

5. The Court finally appoints attorneys Steven G. Wenzel, Luis A. Cabassa, and
Brandon J. Hill of the law firm Wenzel Fenton Cabassa, P.A., and Leonard A. Bennett and Craig
C. Marchiando of Consumer Litigation Associates, P.C., and Mare Edelman of Morgan & Morgan,
P.A., as Class Counsel for the Settlement Classes.

6. The Court finally designates Named Plaintiffs Donovan Hargrett, Michael Austin,

and Michael Mathis as the Class Representatives.

7. The Court makes the following findings on notice to the Settlement Classes:

(a) The Court finds that the distribution of the Class Notice, as provided for in
the Settlement Agreement, (i) constituted the best practicable notice under the circumstances to
Settlement Class Members, (ii) constituted notice that was reasonably calculated, under the
circumstances, to apprise Settlement Class Members of, among other things, the pendency of the
Action, the nature and terms of the proposed Settlement, their right to object or to exclude
themselves from the proposed Settlement, and their right to appear at the Final Approval Hearing,
(iii) was reasonable and constituted due, adequate, and sufficient notice to all persons entitled to
be provided with notice, and (iv) complied fully with the requirements of Fed. R. Civ. P. 23, the
United States Constitution, the Rules of this Court, and any other applicable law.

(b) The Court finds that the Class Notice and methodology set forth in the

Settlement Agreement, the Preliminary Approval Order, and this Final Order and Judgment (i)
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constitute the most effective and ‘practicable notice of the Final Order and Judgment, the relief
available to Settlement Class Members pursuant to the Final Order and Judgment, and applicable
time periods; (ii) constitute due, adequate, and sufficient notice for all other purposes to all
Settlement Class Members; and (iii) comply fully with the requirements of Fed. R. Civ. P. 23, the
United States Constitution, the Rules of this Court, and any other applicable laws.

8. The Settlement Agreement is finally approved in all respects as fair, reasonable and
adequate pursuant to Fed. R. Civ. P. 23(e). The terms and provisions of the Settlement Agreement,
including all Exhibits thereto, have been entered into in good faith and are hereby fully and finally
approved as fair, reasonable, and adequate as to, and in the best interests of, each of the Parties
and the Settlement Class Members.

9. The Court approves the distribution of the Settlement Fund, as described in the
Settlement Agreement, as fair, reasonable, and adequate, and the Settlement Administrator is
authorized to distribute the Settlkement Fund in accordance with the terms of the Settlement
Agreement.

10. The Parties are hereby directed to implement and consummate the Settlement
Agreement according to its terms and provisions.

11. Pursuant to Fed. R. Civ. P. 23(h), the Court hereby awards Class Counsel
Attorneys’ Fees and Expenses in the amount of $1,666,666 payable pursuant to the terms of the
Settlement Agreement. The Court also awards a service award in the amount of $3,000 to each
Plaintiff payable pursuant to the terms of the Settlement Agreement.

12. The terms of the Settlement Agreement and of this Final Order and Judgment,
including all Exhibits thereto, shall be forever binding on, and shall have res judicata and

preclusive effect in, all pending and future lawsuits maintained by the Plaintiff and all other
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Settlement Class Members, as well as their heirs, executors and administrators, successors, and
assigns.

13. The Releases, which are set forth in the Settlement Agreement and which are also
set forth below, are expressly incorporated herein in all respects and are effective as of the date
of this Final Order and Judgment; and the Released Persons (as that term is defined below and in
the Settlement Agreement) are forever released, relinquished, and discharged from all Released
Claims (as that term is defined below and in the Settlement Agreement).

14. All Settlement Class Members who did not timely exclude themselves from the
Settlement Class are, from this day forward, hereby permanently barred and enjoined from
directly or indirectly: (i) asserting any Released Claims in any action or proceeding; (ii) filing,
commencing, prosecuting, intervening in, or participating in (as class members or otherwise), any
lawsuit based on or relating to any the Released Claims or the facts and circumstances relating
thereto; or (iii) organizing any Settlement Class Members into a separate class for purposes of
pursuing as a purported class action any lawsuit (including by seeking to amend a pending
complaint to include class allegations, or seeking class certification in a pending action) based on
or relating to any of the Released Claims.

15. Promptly after the Final Settlement Date, Settlement Class Members shall dismiss
with prejudice all claims, actions, or proceedings that have been brought by any Settlement Class
Member and that have been released pursuant to the Settlement Agreement and this Final Order
and Judgment.

16. Neither the Settlement Agreement, nor any of its terms and provisions, nor any of
the negotiations or proceedings connected with it, nor any of the documents or statements referred

to therein, nor this Final Order and Judgment, nor any of its terms and provisions, shall be:
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(a) offered by any person or received against Amazon as evidence or construed
as or deemed to be evidence of any presumption, concession, or admission by Amazon of the truth
of the facts alleged by any person, the validity of any claim that has been or could have been
asserted in the Litigation or in any other litigation or judicial or administrative proceeding, the
deficiency of any defense that has been or could have been asserted in the Litigation or in any
litigation, or of any liability, negligence, fault, or wrongdoing by Amazon;

(b) offered by any person or received against Amazon as evidence of a
presumption, concession, or admission of any fault, misrepresentation, or omission with respect to
any statement or written document approved or made by Amazon; or

(c) offered by any person or received against Amazon as evidence of a
presumption, concession, or admission with respect to any liability, negligence, fault, or
wrongdoing in any civil, criminal, or administrative action or proceeding.

17. This Final Order and Judgment and the Settlement Agreement (including the
Exhibits thereto) may be filed in any action against or by any Released Person (as that term is
defined herein and the Settlement Agreement) to support a defense of res judicata, collateral
estoppel, release, good faith settlement, judgment bar or reduction, or any theory of claim
preclusion or issue preclusion or similar defense or counterclaim.

18. Without further order of the Court, the Settling Parties may agree to reasonably
necessary extensions of time to carry out any of the provisions of the Settlement Agreement.

19, In the event that the Final Settlement Date does not occur, this Final Order and
Judgment shall automatically be rendered null and void and shall be vacated and, in such event,
all orders entered and releases delivered in connection herewith shall be null and void. In the event

that the Final Settlement Date does not occur, the Settlement Agreement shall become null and
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void and be of no further force ‘and effect, neither the Settlement Agreement nor the Court’s
Orders, including this Order, shall be used or referred to for any purpose whatsoever, and the
Parties shall retain, without prejudice, any and all objections, arguments, and defenses with respect
to class certification, including the right to argue that no class should be certified for any purpose,
and with respect to any claims or allegations in this Litigation.

20. This Action, including all individual claims and class claims presented herein, is
hereby dismissed on the merits and with prejudice against Plaintiffs and all other Settlement Class
Members, without fees or costs to any party except as otherwise provided herein.

21. The Court hereby. retains continuing jurisdiction over the Settlement solely to

ensure its completion as set forth in the Settlement Agreement.

DONE and ORDERED this [ day of Pewter , 2018.

UNITED STATES DISTRICT JUDGE
Honorable William F. Jung
